
Upon consideration of the petition filed on the 31st of May 2018 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
*385"Denied By Order of the Court in Conference, This the 14th of August 2018."
The following order has been entered on the motion filed on the 31st of May 2018 by Defendant for En Banc Review:
"Motion Dismissed by order of the Court in conference, this the 14th of August 2018."
Upon consideration of the petition filed on the 9th of July 2018 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 14th of August 2018."
